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                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF ALABAMA
                         NORTHERN DIVISION

BRIANNA BOE,                        )
    et al.,                         )
                                    )
       Plaintiffs,                  )
                                    )
and                                 )
                                    )
UNITED STATES OF AMERICA,           )         No. 2:22-cv-00184-LCB-CWB
                                    )         Hon. Liles C. Burke
       Plaintiff-Intervenor,        )
                                    )
v.                                  )
                                    )
STEVE MARSHALL, in his official )
capacity as Attorney General of the )
State of Alabama, et al.,           )
                                    )
       Defendants.                  )


                  JOINT STIPULATION OF DISMISSAL OF
                     RACHEL KOE AND KATHY NOE
      Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure,

Plaintiffs Brianna Boe, et al; Plaintiff-Intervenor the United States of America; and

Defendants Steve Marshall, et al herby voluntarily dismiss all claims related to

Rachel Koe and Kathy Noe with prejudice and without costs to any party.
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Dated: April 18, 2024                    Respectfully submitted,

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                         CERTIFICATE OF SERVICE

      I certify that I electronically filed this document using the Court’s CM/ECF

system on April 18, 2024, which will serve all counsel of record.


                                             s/ Brent P. Ray




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